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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 KEITH MUMPHERY,

           Plaintiff,
                                                                      Case No. 1:18-cv-576
 v.
                                                                      HON. JANET T. NEFF
 MICHIGAN STATE UNIVERSITY, et al.,

           Defendants.
 ____________________________/


                                              ORDER

       This Court having been informed through the filing of the Report Following Voluntary

Facilitative Mediation Session (ECF No. 35) of the parties’ agreement to settle this matter:

       IT IS HEREBY ORDERED that appropriate dismissal papers, prepared by counsel for

entry by Janet T. Neff, United States District Judge, shall be filed with the Court no later than June

7, 2019.



Dated: May 10, 2019                                            /s/ Janet T. Neff
                                                              JANET T. NEFF
                                                              United States District Judge
